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                            THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

DISPLAY TECHNOLOGIES, LLC,


                        Plaintiff,
                v.
                                                          Civil Action No. 2:17-cv-00070
                                                           JURY TRIAL DEMANDED
HTC AMERICA, INC.,


                        Defendant.


                    DISPLAY TECHNOLOGIES, LLC’S RESPONSE TO
                 DEFENDANT HTC AMERICA, INC.’S MOTION TO DISMISS

        Plaintiff Display Technologies, LLC (“Display”) respectfully responds to Defendant HTC

America, Inc.’s (“HTC”) Motion to Dismiss (Dkt. 9) and would show the Court as follows:

        HTC suggests that its motion not be ruled upon until the issue of proper venue in patent

infringement cases has been resolved by The Supreme Court of the United States. Mot. at 5. The

motion was made at this time in order to comply with the requirements of Fed. R. Civ. P. 12, and “to

preserve [HTC’s] right to obtain dismissal.” Mot. at 2.

        HTC discusses the Supreme Court’s consideration of In re TC Heartland LLC on appeal

from the Federal Circuit. Mot. at 4. HTC actually presents the Federal Circuit’s justification for its

ruling, and then simply states that it does not believe that the Federal Circuit’s analysis was correct.

Id. Such an argument, that the acknowledged currently controlling authority is simply wrong, is not

a basis for obtaining relief at the trial court level.

        Display disagrees with HTC’s opinion that the Federal Circuit’s analysis is incorrect.

Display also respectfully suggests that it is not the place of either party to this lawsuit to offer an

analysis of the state of the law on the issue of venue since the U.S. Supreme Court has taken up the

issue and is expected to issue controlling authority that will render this motion moot since it cannot
	  
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be based on authority that does not exist at this time.

            Display requests that the motion be denied under the currently controlling authority. In re TC

Heartland LLC., 821 F.3d 1338 (Fed. Cir 2016). Alternatively, Display requests that if the Court

does not deny the motion that it defer ruling on it until such time as the U.S. Supreme Court issues

its opinion that resolves the venue issue and the briefing on this motion can be supplemented based

on that outcome.

       Dated: April 24, 2017                             Respectfully submitted,


                                                         /s/ Thomas C. Wright
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                                      CERTIFICATE OF SERVICE

               I hereby certify that all counsel of record who have consented to electronic service are
       being notified of the filing of this document via the Court’s CM/ECF system per Local Rule CV-
       5(a)(3) on this 24th day of April, 2017.

                                                         /s/ Thomas C. Wright
                                                         Thomas C. Wright
